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Exhibit S-3
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DKT NO: X06-UWY-CV18046436-S : COMPLEX LITIGATION

ERICA LAFFERTY : JUDICIAL DISTRICT WATERBURY
Vv. : AT WATERBURY, CONNECTICUT
ALEX EMRIC JONES : BUGUST 2, 2022

DKT NO: XO6-UWY-CV186046437-S
WILLIAM SHERLACH

V.
ALEX EMRIC JONES

DKT NO: XO6-UWY-CV186046438-S
WILLIAM SHERLACH

Vv.
ALEX EMRIC JONES

BEFORE THE HONORABLE BARBARA N. BELLIS, JUDGE

APPEARANCES

Representing the Plaintiff (s);
ATTORNEY CHRISTOPHER MATTEL
ATTORNEY MATT BLUMENTHAL

Representing the Defendant (s):
ATTORNEY NORMAN PATTIS

Recorded and Transcribed by:

Debbie Ellis
Court Recording Monitor

400 Grand Street
Waterbury, CT 06702

EXHIBIT

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THE COURT: We are on the record in the three
related Lafftery versus Jones matters. Lead docket
number Waterbury CV186046436. I'm going to ask counsel
to please identify themselves for the record.

ATTY. MATTEI: Good morning, your Honor. Chris
Mattei on behalf of the plaintiffs. With me is my
colleague Matt Blumenthal.

THE COURT: Good morning.

ATTY. PATTIS: Norm Pattis on behalf of Mr. Jones,
Free Speech Systems, Judge. Good morning.

THE COURT: Good morning.

ATTY. WILLIAMS: Good morning, your Honor. John
Williams with a special appearance on behalf of
Mr. Jones.

THE COURT: Good morning. So I think I may be
able to avoid the first issue with respect to the
objection for the media request. Mr, Ferraro, have you
seen any members of the media here today?

THE CLERK: There's one but nobody who had
requested to record.

THE COURT: Okay. $0 in light of the fact that no
one is here, I can avoid that issue.

THE CLERK: Your Honor, I apologize. I do think
the Connecticut Public Radic person is on his way. He
called me and asked about the address but I don't see
him yet.

THE COURT: All right. I'm not going to delay the

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proceedings for that, so he will not be able to film
today. Okay.

So this may be less than five minutes or we may be
here all day depending on how this works. So my first
question and this is really a yes or a no or an I don't
know. That's what I want. I don't want long
explanations. I'm not looking for argument, just a yes
or a no or I don’t know. I'll start with Attorney
Mattei and then I will ask Attorney Pattis.

So my question is, whether the bankruptcy court
granted a motion to extend the bankruptcy stay to Alex
Jones who has not filed for bankruptcy? So Attorney
Mattei, yes, no or I don't know?

ATTY, MATTEI: No, your Honor.

THE COURT: Okay. Attorney Pattis, do you agree
or Gisagree with that, sir?

ATTY. PATTIS: Neither. I don't know is my
answer.

THE COURT: Okay. I'm happy to pass the matter
since your client would know, I assume, since you're
representing your client. Would you like me to pass it
for a few minutes and we can make a call?

ATTY, PATTIS: He's testifying today. I tried to
reach him yesterday, a per your order and was

unsuccessful. I don't know if I can reach his trial

counsel but I'll try.

THE COURT: I know that you had mentioned, I think

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you had reached out to Mr. Stuckel actually since

Mr. Ferraro was getting back from his Italy trip, with
respect to having bankruptcy counsel use the link to
watch it on Microsoft Teams 50, T assume, they're
available.

ATTY. PATTIS: I assume So too.

THE COURT: So maybe they would be the ones that
you could try to reach. And I just simply want to know
whether the bankruptcy court granted a motion to extend
the bankruptcy stay to Alex Jones who, to my knowledge,
has not filed bankruptcy.

ATTY. PATTIS: I will find out, Judge.

THE COURT: Okay. So we'll take a five-minute
recess. Thank you.

(Whereupon, there was a recess.)

THE COURT: You could be seated. That was quick,
Attorney Pattis.

ATTY. PATTIS: It still took two phone calls,

THE COURT: And the answer?

ATTY, PATTIS: No such motion was filed,
therefore, no such motion is granted.

THE COURT: Thank you.

So the automatic stay that is in effect as to Free
Speech System, LLC who filed for bankruptcy, I believe,
on Friday, does not automatically extend to solvent
codefendants even where they are similarly legal or

factually, so and I don't see that any motion for stay

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has been filed here.

I'm going to next turn to the, I have to say
untimely cross claim. [f will give Attorney Williams an
opportunity to be heard but I do want to start out by
saying that it is, everyone has their responsibilities
and obligations in this case. And one of my
responsibilities is to maintain the orderly procedure
of the court docket and cases and to prevent any
interference with the fair administration of justice.

And my concern here, Mr. Williams, and I'll give
you as much time as you need to respond, is that the
cross claim is untimely, improper, and that it delays
the trial. And so I am considering using my statutory
authority and inherent authority in sua sponte
dismissing or striking the claim at this time. So I'm
happy to have you be heard,

I do want to mention one thing before I forget is
that your appearance, you're going to need to correct
your appearance because your appearance, you didn't use
the right form. There's a specific form that has to he
used for limited appearance and that form has different
language on it then the standard appearance form that
we're all used to. SO, for example, in the limited
appearance form you only agree to accept service on
your particular issue. $0 I do want to tell you that
right now you are in for Mr. Jones full force and that

you'll need to correct that probably by way of a motion

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or whatever you think is appropriate.

But in any event, let me hear you with respect to
your cross claim.

ATTY, WILLIAMS: Your Honor, your Honor has raised
as I understand it and I apologize my hearing leaves a
lot to be desired but as I understand it, your Honor
has raised the question of untimeliness and
specifically as I look at the docket, there's no notice
of closed pleadings. The case is proceeding as I
understand it as a hearing in damages. It seems to me
that the cross claim is completely collateral to that.
There should not in any way have an impact on this
trial and in deed is the sort of thing that might well
be deferred until the end of the trial.

So if I have done something, your Honor used the
word improper, if I did something that was improper, I
can only tell your Honor it was certainly not my
intention and I apologize to the court for any offense
that I have given to you or inconvenience to anybody
else, It was in no way my intention.

THE COURT: No offense taken but we just need to
follow the rules, that's all. Sol raise the issue of
the untimeliness being improper and form and the delay
that it would work on the trial. Is there anything
else that you wanted to add?

ATTY. WILLIAMS: Well, your Honor, I didn't

believe that it was untimely. But obviously the Free

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Speech Systems I would have expected would oppose that
if they felt that it was untimely. Your Honor, as
again said it's improper, I don't understand in what
way it would be improper except that I didn't request
your permission, which I didn't understand was required
and I didn't believe it would have any impact on the
case,

I have read the motion to strike. Counsel there
indicates that -~

THE COURT: You're ahead of me Mr. Williams
because I haven't read it but --

ATTY, WILLIAMS: I didn't hear you, your Honor.

THE COURT: I said you're ahead of me because I
didn't read the motion to strike because it would now
require us to engage in pleading practice, request
to -- motion to strike, answer, special defenses,
motions for summary judgment and obviously we're down
for jury selection today.

ATTY, WILLIAMS: Well, your Honor, all I can say
is that I did not intend any -- to do anything
improper. I thought I was proceeding appropriately.
If I wasn't, I can only say that I am humbly apologetic
to the court.

THE COURT: So I don't -- when I say untimely, and
please be seated if you like or remain standing
wherever you're most comfortable. But when I say

untimely, it was filed well beyond the close of

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pleadings deadline and the operative scheduling order.
I can't even find the last scheduling order, it's so
old. And the deadline for the close of pleadings has
long passed. It was not listed in the joint trial
management report which was ordered to be filed. It
wasn't filed when the Jones defendants filed their
denials with their notice of defenses and their special
defenses and it's obviously filed on the eve of trial.

And when I say improper, I don't mean that you,
sir, did anything, you know, improperly to offend the
court by any means, 50 please don't think that. But
what you would need to do with such a pleading is file
either a request to file the pleading, you know, beyond
the deadlines, file a motion with it, file a motion to
amend pleadings, something because otherwise, nothing
would prevent you from in the middle of evidence, you
or anyone else just dropping a pleading in the file and
expecting the parties and the court to adjudicate it.
So, we can't just have generally what we say with an
answer is an answer in cross claim or an answer in
counterclaim, certainly there was no answer here given
the default but there was the denial and the notice as
the defenses and the special defenses and I would have
expected it bare minimum to have it filed then.

And, you know, with respect to the delay, it would
delay the trial as it was filed five days before jury

selection. So I have to say that Mr. Jones is not in

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compliance with his obligations to plead in accordance
with our rules of practice and the scheduling order.

So pursuant to Connecticut General Statute 52-97
and Connecticut Practice Book Section 10-21, the cause
of action set forth in the untimely cross claim cannot
conveniently be heard with the main complaint. And the
issues raised on the cross Claim, even had the cross
claim been timely and properly filed, do not arise out
of the transaction which is the subject of the
plaintiff's complaint, which is required by Practice
Book 10-10.

For example, one of the basis for relief is an
injunction requiring someone from Free Speech Systems
to attend the trial. 50 in short, it would be
impossible to hear and adjudicate the cross claim given
that jury selection starts today as it cannot
conveniently be heard with the main complaint.

So for these reasons, the court directs that the
cross claim be deleted orf dismissed from this case and,
of course, nothing prevents Mr. Jones from filing a
separate action and if that does occur in the normal
course of business, the parties will be at notice that
the court will exercise jurisdiction over that matter
and bring it to this docket. That is the most
efficient way to proceed. But it will not be part of
this present case.

ATTY, WILLIAMS: Thank you, your Honor.

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THE COURT: You're welcome.

So I have a couple of housekeeping matters. I was
happy to see that you could agree on the number of
alternates which I understand was four and that you had
a total of five challenges, but I wasn't sure how you
were breaking it down. Are you doing four and one or

three and two?

ATTY, MATTEI: We agree that they be unrestricted,
your Honor.

THE COURT: I will not, that I will not agree too.
I stick with the statute. I like that statute.

ATTY. MATTEL: My proposal then, Judge and I -~

THE COURT: ~Why don't you discuss it off the
record and then let me know if you have an agreement on
it. Okay. Thank you.

Mr. Pattis, there was one and I didn't pull it up,
but there was going to be one late motion in limine.
You had an attorney in your office who was not
available to file it due to some health issues. And
I'm not sure if that was 4 motion in limine on behalf
of Mr. Jones and Free Speech Systems or just Free
Speech Systems because if it is on behalf of Mr. Jones,
it's well past filing, so what would you suggest?

ATTY, PATTIS: It was both, but we're not going to
file it now.

THE COURT: Okay.

ATTY. PATTIS: He did not get out of the hospital

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yet.

THE COURT: Sorry to hear that.

ATTY. PATTIS: Yeah, as are We.

Given the law of the case and the way things seem
to be evolving given the motion practice we can address
that interest in the other motions that are to be
argued later.

THE COURT: Very good.

ATTY. PATTIS: So there will not be another -~

THE COURT: And then I looked last night and I
thought yesterday was the deadlines for the replies to
the objections to the motions in limine, I saw the
plaintiffs’ replies, are you not filing replies or are
you planning on filing them today because they were due
yesterday?

And again, I don't know if they're just are
directed to Free Speech Systems and of course we're not
adjudicating that now.

aTTy. PATTIS: I have been advised by bankruptcy
counsel that the stay binds my hands as to Free Speech
Systems, and that I cannot act on his behalf it would
act as his peril. They would pertain to poth, so IL
took the position that the stay was applicable as to
that. I understand -- I'm here as to your order and I
don't mean to be defiant, but I've been told I act at
my peril if I act as to Free Speech Systems.

THE COURT: So you don't want to act on behalf of

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Mr. Jones in filing FepLiles since you do represent

Mr. Jones and Mr. Jones is a nondebtor and there's no
stay at this point? Listen, I'm not saying that at any
point the bankruptcy counsel can't file a motion in
bankruptcy court and have the stay extended to

Mr. Jones but right now, you're telling me that's why I
asked, that's why I started --

ATTY. PATTIS: No, I understand.

THE COURT: -- but there is no stay that extends
to Mr. Jones.

ATTY. PATTIS: But there is as to a party that I
represent so I feel like I have a conflict at this
point, because I'm told I can't act with respect to one
and should act with respect to others and now I'm ina
position where I've got to parse what to do with
respect to each and that strikes me as that sort of
1.73 issue that I would need a little bit more time,
not an infinite amount of time to address.

And, you know, the issue you raised about whether
they should file the stay to extend to Mr. Jones that
hadn't occurred to me, I'm not a bankruptcy -— I had
altercate hands.

THE COURT: Well, I think the law is clear that
when one defendant in a case files for bankruptcy it
doesn't automatically extend to all other defendants
even if they are similarly factually oF legally and you

would have to move in bankruptcy court to extend the

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stay.

Now last time we had this issue when Info Wars and
Prison Planet maybe, when they filed for bankruptcy, We
had the exact same situation and I believe I entered a
very similar order in response to that and then I think
what happened and you correct me if I'm wrong, I think
that you removed the remaining case to bankruptcy
Gourt. So that it wasn’t so much =~

ATTY. PATTIS: I understand that.

THE COURT: So here I didn't see and I checked
before I came out on the record, I didn't see any
removal to bankruptcy court of the pending ciaims and lI
didn't see anything about a stay.

ATTY. PATTIS: I was anstructed not to file
removal papers by bankruptcy counsel for reasons of

their own that I didn't inquire as to. And so I am

-left in this awkward position now where if we proceed

as to Jones but not as to Free Speech that operates
almost constructively as a severance and I believe the
law is clear that a severance that adversely affects a
debtor is prohibited once the debtor is in bankruptcy.

So it's my request that and it's my understanding
that, I don't know if it's Houston, I don't recall what
city in Texas, in the Texas pankruptcy court there's a
hearing Friday morning with respect to the plaintiff's
emergency motion for relief from stay.

THE COURT: But that emergency motion is a relief

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from stay as to the debtor, Free Speech Systems ~~

ATTY. PATTIS: Right.

THE COURT: ~-- we are all on the same page here.
Everyone is on the same page. They're under federal
bankruptcy law which, I believe me, respect. There is
an automatic stay as to the debtor, Free Speech
Systems, LLC. Tf you told me this is why I started
asking this question, if you said to me, yes ~~ because
I tried to look last night and I could not access the
through Pacer the records or I would have cancelled
this if I saw that it was extended. As I'm
understanding it, clearly there's no doubt that there
was no extension of that stay to the solvent remaining
defendant Mr. Jones, nor has such a motion been filed,
so there is an active claim right now against Alex
Jones. There's causes of action and we're down for
jury selection.

So, I can't, you know, I can't solve for you what
instructions you're getting from your client or
bankruptcy counsel but I have a remaining claim, but I
understand from what you're telling me it's your
position, well you can tell me your position why don't
you.

ATTY. PATTIS: I'm asking for a recess until a
motion is heard on Friday. I find myself in a position
where I cannot satisfy my obligations to both clients.

Mr. Jones expects a defense as does Free Speech.

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I am told Free Speech the action will not proceed
as to they may or may not have identical interest in
every instance but I don't see how I can proceed as to
one client and not the other.

THE COURT: So and then let's just hypothetically
say that we either didn't pick until Friday and Friday
the motion is heard and the motion it's a motion to —~

ATTY. PATTIS: For relief from stay.

THE COURT: Okay, let's say that --

ATTY, PATTIS: That's my understanding of it. I
haven't filed it.

THE COURT: So let's say that's denied and so the
stay is in effect as to Free Speech System.

ATTY. PATTIS: At this point, Judge, I would be in
touch with bankruptcy counsel saying you left me
hanging here without a motion for an application as Lo
Jones or a removal, the trial court takes the position
that its capable -— that as a matter of law it would be
appropriate to proceed with Mr. Jones and I might have
to seek independent ethic's counsel advice because I'm
starting to feel a 1.73 (inaudible) because I'm now in
a position where I can meet the needs of one client but
not the other in a proceeding and I've not been in this
position before.

THE COURT: Attorney Mattei.

ATTY. MATTEI; Your Honor, what I see Attorney

Pattis be doing is asking for making an oral motion for

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continuance for jury selection, We oppose that motion
for continuance. Mr. Jones is more than adequate
represented in bankruptcy court in Houston. They are
well aware of this jury selection. They actually filed
a motion to lift the stay as to the ongoing trial in
Texas. And so they're well aware of the implications
that -—

THE COURT: So that -- excuse me, The motion to
lift the stay was as to the debtor?

BTTY, MATTEI: As to the debtor Free Speech
Systems. And so they're more than aware of occasions
of not moving the stay with respect to Mr. Jones,
they've not done that knowing that jury selection is
scheduled for today.

The bankruptcy, which was filed on Friday,

Mr. Pattis has had the weekend and now Monday to
investigate the extent to which any conflict prevents
him from proceeding today on behalf of Mr. Jones. But
the facts of the case establishes that there is no
conflict and there can be no conflict because Mr, Jones
and Free Speech Systems are all egos to one another.
They have been represented by the same counsel
throughout. There's no suggestion of evidence that any
position taken by Mr. Jones here would be adverse to a
company that he 100 percent controls, Free Speech

Systems.

And so there's just no basis to grant a

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continuance here where Mr. Jones is the one that has
manufactured this situation on the eve of jury
selection to prevent us from going forward. So we want
to proceed today with jury selection.

THE COURT: So here's what I would say, we are
going to proceed but if and when a motion is granted in
the bankruptcy court, that extends the stay to
Mr. Jones, the court needs to be notified immediately
and we will cease activity because that would then stay
the claim against Mr. Jones as well. But short of
that, listen f suppose Mr. Jones could file for
bankruptcy and that would stay the rest of fhe’ case
under federal law or the bankruptcy court can extend
the stay to Mr. Jones.

So if either one of those happens, I'm sure you'll
let me know immediately and we will stop our
proceedings.

All right. So, we're going to start jury selection
at 10:00. Just as a reminder please no snapshots or
screen shots or whatever you want to call it of the
jury confidential jury questionnaires. Anyone who ~~
so if your clients are here at any point either during
jury selection or trial the trial will be in the
courtroom next door.

But during jury selection and during trial anyone
who's seated at counsel table or in the well of the

courtroom would have to wait for a recess to leave or

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you can leave in between jurors if you understand what
I'm saying. I don't want people in the well of the
courtroom getting up and leaving in the middle of the
voir dire, if they're in the well of the courtroom.

Now people in the gallery they can come and go as they
please but for trial as well, if we're not in a recess
any of your clients or other lawyers that are in the
well of the courtroom would have to wait for recess. I
don't want people coming and going. But if there's any
believe me any need for a quick break because someone
needs to leave or you have an emergency or whatever,
I'm happy to take another recess, so you just let me
know and ask for a recess and I'm sure we'll take a
recess. I just don't want any commotion.

During the -- I am going to remain on the bench at
least for the immediate future. I don't have any other
conflicts right now. I don't know if that's going to
remain the whole time but the juror, potential juror
will sit next to me up here. I don't know if you want,
I guess, Mr. Ferraro, maybe we can move the lectern up
for the lawyers.

THE CLERK: Wherever counsel wants to.

THE COURT: Why don't you discuss where you want
it but I'm telling you now I want you to give the
jurors space. I don't want you leaving that lectern
area and clouding the jurors and I'm going to say the

same thing for witnesses as well. Sol don't want

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anybody invading their space.

So here's what I would say on the replies to the
motions in limine by Mr. Jones. If Mr. Jones wishes,
he's not ordered to, he doesn't have to but if he
wishes to file replies to the motions in limine, and
that was due yesterday, Mr. Jones will have until the
end of business tomorrow to file his replies if he
wants to.

I'm prepared to go on the introduction to the
panel. I have, thank you, I have all the information
that you gave us with respect to the parties and the
witnesses and so Forth. So I think for the
introduction to the panel, you're going to be very
brief. You're just going to simply say who you are and
what other lawyers are with you and if you want to
mention if you have clients here or not, that's fine.
But I don't want to hear anything beyond that, no
description of the case. It's going to be very very
brief otherwise I am going to cut you off. That's not
the opportunity to start any further details.

All right. So we will be back right at 10:00 p.m.
for jury selection.

ATTY. MATTEI: Your Honor, T'm sorry. one
housekeeping matter. I sent to Mr. Stuckel this
morning a proposed revised description of the case for
the court to consider giving to the jury in light of

the fact we now only have one defendant for whom we are

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picking. The initial jointly agreed upon statement
referred to both defendants and I sent the revision to
Mr. Stuckel, Attorney Pattis I spoke to him
beforehand, he indicated that: he objects so l just want
to flag the court given that right now we are only
picking with respect to Mr. Jones.

THE coURT: Well, I planned on deleting Free
Speech Systems in the language as 4 defendant. I
understand that you're objecting basically, Attorney
Pattis, even going Forward into the proceeding and such
but do you have any suggestions on the proposed

language or not?

ATTY. PATTIS: Yes. I don't believe the court can
refer to Free Speech Systems. I don't think the court
can refer to Mr. Jones as acting through Free Speech
Systems without adversely affecting Free Speech Systems
in violation of the stay, 5° that's the basis of my
disagreement.

If the court's going to proceed as to Mr. Jones I
think it should delete reference to Free Speech Systems
from the proposed joint statement.

ATTY. MATTEI: I just in response regardless of
Free Speech Systems status that fact is established as
a result of fault not, s© there's not any question that
that is true to be evidence in the case regardless of

whether Free Speech —~

aTTy. PATTIS: That will be a litigated issue

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whether he'll be evidence, we think any evidence to
that effect would be in violation of the stay because
it acts to the detriment of Free Speech Systems while
it's --

THE COURT: I think we can be very clear in our
preliminary instructions and our Jury instructions that
this case is proceeding only as to Mr. Jones
individually so I'm not concerned that they're going to
be confused. So if you can't come up with your own
language I'm more than capable of coming up with my own
language. Okay.

ATTY. WILLIAMS: Your Honor, may I be excused?

THR COURT: Well, Mr. Williams, sure but you're
going to have to file --

ATTY. WILLIAMS: A motion to withdraw.

THE COURT: Unless you can somehow assure me as an
officer of the court that Mr. Jones retained you solely
for the purposes of the cross claim and not for any
other reason. Because I explained to you the issue.

ATTY. WILLIAMS: I understand.

THE COURT: And I don't want to be hasty and make
mistakes and informally let you out of the case if in
fact that's not true.

ATTY. WILLIAMS: Your Honor, I assure you as an
officer of the court that that was the sole purpose
that he retained me and I have no other interest in

this case whatsoever.

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THE COURT: All right. Do you agree with that,
Attorney Pattis?

ATTY. PATTIS: I reviewed the papers and I agree.

THE COURT: I'm sorry.

ATTY, PATTIS: I've reviewed the engagement
letter, I agree that there's no ambiguity with respect
to that.

THE COURT: Soa your client, Mr. Jones, is not
going to object if I informally let Mr. Williams out.

ATTY. PATTIS: On behalf of Mr. Jones, I'll make
that representation.

THE COURT: And Attorney Mattei, you don't want to
be heard on this, correct?

ATTY. MATTEI: No, your Honor.

THE COURT: All right. So ordered.

ATTY. WILLIAMS: Thank you, your Honor.

THE COURT: We'll take a recess.

(Whereupon, there was a recess.)

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DKT NO: X06-UWY-CV18046436-S » COMPLEX LITIGATION

ERICA LAFFERTY » JUDICIAL DISTRICT WATERBURY
Vv. : AT WATERBURY, CONNECTICUT
ALEX EMRIC JONES » AUGUST 2, 2022

DKT NO: X06-UWY-CV186046437-S

WILLIAM SHERLACH
V.
ALEX EMRIC JONES

DKT NO: X06-UWY-CV186046438-S

WILLIAM SHERLACH
Vv.
ALEX EMRIC JONES

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CERTIFICAT TON

I hereby certify the electronic version is a true and
correct transcription of the audio recording of the
above-referenced case, heard in Superior Court, G-A. 4 of
Honorable Barbara N. Bellis,

Waterbury, Connecticut before the

Judge, on August 2, 2022.

Dated this 2nd day of August, 2022 in Waterbury,

Connecticut.

Debbie A. Ellis
Court Recording Monitor

